






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00367-CV






Shirley Neeley, in her Official Capacity as Commissioner of Education, Appellant


v.



Gulf Shores Academy, Inc., Appellee





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT


NO. D-1-GN-06-001421, HONORABLE GISELA D. TRIANA, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N



	Appellant Shirley Neeley, in her official capacity as Commissioner of Education,
has filed an unopposed motion to abate this appeal stating that the status of appellee's school
charter is currently under review, the outcome of which might render this appeal moot. 
Appellant's counsel has advised this Court that the parties have conferred, and the appellee is not
opposed to abatement of this appeal. Accordingly, we grant the motion and abate this appeal until
October 30, 2006.  If by that date the status of appellee's school charter has not been resolved,
appellant is ordered to file a report informing this Court of the status of the case.


					__________________________________________

					Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Pemberton

Filed:   September 8, 2006


